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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. No. 03-20104 B
OMAR ABDI JAMAL,
Defendant

 

ORDER DENYING DEFENDANT'S POST-TRIAL MOTION TO DISMISS
COUNTS l THROUGH 3 OF THE INDICTMENT

 

On March 25, 2003, a six-count indictment was entered against the Defendant, Omar Abdi
Jamal, charging him with making false statements on immigration documents in violation of 18
`U.S.C. §§ 1001 and 1546(a). Counts l through 3 of the indictment alleged violations of § 1546(a),
Which imposes criminal penalties upon an individual Who

knowingly makes under oath, . . . knowingly subscribes as true, any false statement

with respect to a material fact in any application, affidavit, or other document

required by the immigration laws or regulations prescribed thereunder, or knowingly

presents any such application, aftidavit, or other document which contains any such

false statement or which fails to contain any reasonable basis in law or fact . . .
In an order entered May 26, 2004, this Court denied the motion of the Defendant to dismiss Counts
l through 3 for improper venue, finding that the Government had met its burden in establishing that
venue was proper in this districtl

On January 7, 2005, the jury empaneled in this matter rendered a verdict of guilty on Counts

1 through 5.l Beforc the Court is the post-trial motion of the Defendant to dismiss Counts l through

 

1C0unt 6 was dismissed prior to trial. wis document entered en the docket Sheet in compliance

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3 of the indictment, in which Jarnal again argues that venue was improper. Specifically, the
Defendant maintains that "the record is devoid of evidence regarding the situs of the completion or
transmission of the Application in Question." (Mot. to Dismiss the lndictment as a Matter of Law
Pursuant to Rule 29 at `l .)

As the Court noted in its previous order, Rule 18 of the Federal Rules of Criminal Procedure
provides that "[u]nless a statute or these rules permit otherwise, the government must prosecute an
offense in a district where the offense Was committed.“ Fed. R. Crim. P. 18. In addition, the Sixth
Amendment guarantees that "[i]n all criminal prosecutions, the accused shall enjoy the right to a
speedy and public trial, by an impartial jury of the State and district Wherein the crime shall have
been committed.“ U.S. Const. amend. VI. ln the Sixth Circuit,

[t]he locus delecti of the crime charged must be determined from the nature of the

crime alleged and the location of the act or acts constituting it. In determining the

“locus delecti" of a crime, the Supreme Court directs us to initially identify the

conduct constituting the offense (the nature of the crime) and then discern the

location of the commission of the criminal acts. Venue is therefore appropriate only

in the district where the conduct comprising the essential elements of the offense

occurred
United States v. Wood, 364 F.3d ?04, 710 (6th Cir. 2004) (internal citations and quotation marks
omitted). In order to show a violation of § 1546, the government must prove that "(l) the defendant
made a false statement under penalty of perj ury With respect to a material fact; (2) the statement Was
made in an application, affidavit, or other document required by the immigration laws or regulations;
and (3) the defendant made the statement knowing that it was false.'1 United States v. Kone, 307
F.3d 430, 434 (6th Cir. 2002).

The evidence adduced at trial demonstrated that Jamal lived in Memphis, Tennessee during

1997 and 1998; he enrolled at the University of Memphis during that period; the asylum application

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listed his mailing address as Memphis; he completed his asylum application While living in
Memphis; the asylum interview notice Was mailed to the Defendant's Memphis address; and the
asylum interview occurred there. Accordingly, the Government established at trial that the elements
of the offense charged occurred in this district.

The Defendant also argues for the first time that the indictment fails to set forth a cognizable
offense His request, however, comes too late. While the motion is captioned as one brought under
Rule 29 of the F ederal Rules of Criminal_Procedure, which may be filed post-trial, the time for filing
a request to dismiss the indictment based on a defect is governed by Fed. R. Crim. P. 12.
Specifically, Rule l2(b)(3) provides that certain motions, including those "alleging a defect in the
indictment,“ must be filed prior to trial. Subsection (e) of the Rule states that "[a] party waives any
Rule 12(b)(3) defense, objection, or request not raised by the deadline the court sets under Rule
12(c)“ for pretrial motions Fed. R. Crim. P. 12(e); g also United States v. Brimite, No. 03-1840,
2004 WL 1532207, at *2 (6th Cir. June 24, 2004); United States v. Rodrig_uez-Marrero, 390 F.3d
1,11-12(15tCir.2004),9_Li€M, _U.S. _, 125 S.Ct. 1620, 161 L.Ed.2d 292, 72 U.S.L.W.
3530 (U.S. Mar. 7, 2005) (No. 04-8523); United States v. Porter, No. 96-5677, 1997 WL 428959,
at *4 (6th Cir. July 29, 1997'). Although the Court may grant relief from the Waiver upon a showing
of good cause, the Court finds no basis for doing so here. &e_ Fed. R. Crim. P. 12(e).

For the reasons set forth herein, the motion is DENIED.

 

1 NIEL BREEN \
I ED sTATEs r)IsrRrCT JUDGE

 

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Honorable .l. Breen
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